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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NOS. MJ 11-120
09         Plaintiff,                     )                      MJ 11-131
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TOMMY PHAM,                          )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Felon in Possession of a Firearm; Possession of Marijuana with Intent to

15 Distribute

16 Date of Detention Hearing:     March 31, 2011

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    The government contends that defendant committed the instant offenses while on




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01 bond from a pending state court criminal case. The government contends that multiple firearms

02 and body armor, as well as marijuana and drug paraphernalia were found in defendant’s bedroom

03 during a search, as well as documents notifying defendant that he was ineligible to possess

04 firearms due to a prior felony conviction.

05          (2)    Defendant’s lengthy criminal history includes multiple VUCSA offenses. He is

06 associated with two aliases and four dates of birth.

07          (3)    Defendant poses a risk of nonappearance due to conflicting information during

08 verification of residential history, lack of employment, unknown substance abuse history,

09 association with multiple identifiers, family ties to Vietnam, and a history of failing to comply

10 with Court orders. He poses a risk of danger based on the nature of the instant offense, criminal

11 history and a history of failing to comply with Court orders.

12          (4)    There does not appear to be any condition or combination of conditions that will

13 reasonably assure the defendant’s appearance at future Court hearings while addressing the

14 danger to other persons or the community.

15 It is therefore ORDERED:

16          (1)    Defendant shall be detained pending trial and committed to the custody of the

17                 Attorney General for confinement in a correction facility separate, to the extent

18                 practicable, from persons awaiting or serving sentences or being held in custody

19                 pending appeal;

20          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

21                 counsel;

22          (3)    On order of a court of the United States or on request of an attorney for the




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01              Government, the person in charge of the corrections facility in which defendant

02              is confined shall deliver the defendant to a United States Marshal for the purpose

03              of an appearance in connection with a court proceeding; and

04       (4)    The clerk shall direct copies of this Order to counsel for the United States, to

05              counsel for the defendant, to the United States Marshal, and to the United States

06              Pretrial Services Officer.

07       DATED this 1st day of April, 2011.



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09                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                     PAGE 3
